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 1                                                                        The Honorable Lauren King
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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   STATE OF WASHINGTON, et al.,                           NO. 2:25-cv-00244-LK
10                               Plaintiffs,                DECLARATION OF WILLIAM
                                                            MCGINTY IN SUPPORT OF
11      v.                                                  PLAINTIFFS’ REPLY IN
                                                            SUPPORT OF MOTION FOR
12   DONALD J. TRUMP, in his official capacity              TEMPORARY RESTRAINING
     as President of the United States, et al.,             ORDER
13
                                 Defendants.                ORAL ARGUMENT:
14                                                          February 14, 2025, at 10:00 a.m.
15
              I, William McGinty, declare as follows:
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              1.     I am over the age of 18, competent to testify as to the matters herein, and make
17
     this declaration based on my personal knowledge. I am one of the attorneys representing
18
     Plaintiff State of Washington in the above-captioned matter.
19
              2.     The Plaintiffs in this matter filed this lawsuit February 7, 2025, and filed their
20
     Emergency Motion for a Temporary Restraining Order concurrently therewith. The Motion
21
     seeks a Temporary Restraining Order to enjoin the President’s Executive Order 14,187 of
22
     January 28, 2025, entitled “Protecting Children From Chemical and Surgical Mutilation.” The
23
     Plaintiffs in this matter filed their Reply in Support of Motion for Temporary Restraining Order
24
     today, February 12, 2025.
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     DECLARATION OF WILLIAM MCGINTY                     1             ATTORNEY GENERAL OF WASHINGTON
                                                                           Complex Litigation Division
     IN SUPPORT OF PLAINTIFFS’ REPLY IN                                    800 Fifth Avenue, Suite 2000
     SUPPORT OF MOTION FOR                                                     Seattle, WA 98104
                                                                                  (206) 464-7744
     TEMPORARY RESTRAINING ORDER
     NO. 2:25-cv-00244-LK
           Case 2:25-cv-00244-LK                Document 149      Filed 02/13/25       Page 2 of 3




 1            3.        Attached as Exhibit 1 is a true and correct copy of a news article published by
 2   CalMatters on February 4, 2025, written by Kristen Hwang titled “LA clinics lose funding for
 3   transgender health care as Trump executive orders take hold.” I accessed this article online at
 4   the URL, https://calmatters.org/health/2025/02/trump-executive-order-transgender-health/ on
 5   February 12, 2025 and used the print feature on the website to save a PDF copy using a print to
 6   PDF function.
 7            4.        Attached as Exhibit 2 is a true and correct copy of a news article published by the
 8   Milwaukee Journal Sentinel on February 7, 2025, written by Natalie Eilbert titled “Children’s
 9   Wisconsin, which operates state’s largest clinic for trans youth, pauses new care”. I accessed this
10   article online at the URL, https://www.jsonline.com/story/news/2025/02/07/childrens-putting-
11   new-gender-affirming-care-on-hold-for-trans-youth/78327764007/ on February 12, 2025 and
12   used the print feature on the website to save a PDF copy using a print to PDF function.
13            5.        Attached as Exhibit 3 is a true and correct copy of a news article published by the
14   Chicago Tribune on February 5, 2025 and updated on February 6, 2025, written by
15   Lisa Schencker titled “Illinois mother says her teenager’s chest surgery was canceled after
16   Trump executive order on gender-affirming care”. I accessed this article online at the URL,
17   https://www.chicagotribune.com/2025/02/05/illinois-gender-affirming-care-trump-order/                     on
18   February 12, 2025 and used the print feature on the website to save a PDF copy using a print to
19   PDF function.
20            6.        Attached as Exhibit 4 is a true and correct copy of a news article published by
21   The Daily Progress on February 4, 2025 written by Eliza Noe titled “Norfolk children’s hospital
22   pauses        gender-affirming    care”.     I   accessed   this   article   online    at   the    URL,
23   https://dailyprogress.com/news/state-regional/business/health-care/norfolk-childrens-hospital-
24   pauses-gender-affirming-care/article_be0e64a8-84b6-5a0f-a3d9-f40bef9315c8.html                            on
25   February 12, 2025 and used the print feature on the website to save a PDF copy using a print to
26   PDF function.

     DECLARATION OF WILLIAM MCGINTY                        2               ATTORNEY GENERAL OF WASHINGTON
                                                                                Complex Litigation Division
     IN SUPPORT OF PLAINTIFFS’ REPLY IN                                         800 Fifth Avenue, Suite 2000
     SUPPORT OF MOTION FOR                                                          Seattle, WA 98104
                                                                                       (206) 464-7744
     TEMPORARY RESTRAINING ORDER
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           Case 2:25-cv-00244-LK          Document 149       Filed 02/13/25         Page 3 of 3




 1          7.      Attached as Exhibit 5 is a true and correct copy of a news article published by the
 2   Arizona Mirror on February 10, 2025 written by Joseph Darius Jaafari titled “Phoenix Children’s
 3   Hospital is ‘indefinitely’ ending gender-affirming care for Arizona kids”. I accessed this article
 4   online at the URL, https://azmirror.com/briefs/phoenix-childrens-hospital-is-indefinitely-
 5   ending-gender-affirming-care-for-arizona-kids/ on February 12, 2025 and used the print feature
 6   on the website to save a PDF copy using a print to PDF function.
 7          8.      Attached as Exhibit 6 is a true and correct copy of a news article published by
 8   MLive on February 6, 2025 and updated on February 12, 2025 written by Justin P. Hicks titled
 9   “Michigan health system halts new gender-affirming care for minors after trump order”. I
10   accessed     this    article     online   at    the    URL,        https://www.mlive.com/public-
11   interest/2025/02/michigan-health-system-halts-gender-affirming-care-for-minors-after-trump-
12   order.html on February 12, 2025 and used the print feature on the website to save a PDF copy
13   using a print to PDF function.
14          I declare under penalty of perjury under the laws of the State of Washington and the
15   United States of America that the foregoing is true and correct.
16          DATED this 12th day of February 2025 at Olympia, Washington.
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                                                    /s/ William McGinty
18                                                  WILLIAM MCGINTY, WSBA #41868
                                                    Assistant Attorney General
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     DECLARATION OF WILLIAM MCGINTY                   3                 ATTORNEY GENERAL OF WASHINGTON
                                                                             Complex Litigation Division
     IN SUPPORT OF PLAINTIFFS’ REPLY IN                                      800 Fifth Avenue, Suite 2000
     SUPPORT OF MOTION FOR                                                       Seattle, WA 98104
                                                                                    (206) 464-7744
     TEMPORARY RESTRAINING ORDER
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